 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 1 of 16 Page ID #:134


 1   Andrew D. La Fiura (Pennsylvania SBN. 307891)
     JACKSON LEWIS P.C.
 2   Three Parkway
     1601 Cherry Street, Suite 1350
 3   Philadelphia, Pennsylvania 19102-1317
     Tel: (267) 319-7802
 4   Fax: (215) 399-2249
     E-mail:      andrew.lafiura@jacksonlewis.com
 5
     Jared L. Bryan (SBN. 220925)
 6   Vandana Kapur (SBN. 281773)
     JACKSON LEWIS P.C.
 7   5000 Birch Street, Suite 5000
     Newport Beach, California 92660
 8   Tel: (949) 885-1360
     Fax: (949) 885-1380
 9   Email:      Jared.Bryan@jacksonlewis.com
                 vandana.kapur@jacksonlewis.com
10
     Attorneys for Defendants
11   QUALITY SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATION
     SYSTEMS, LLC
12
13                         UNITED STATES DISTRICT COURT
14          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
15
16   TRACI WOLBERT,                  )          CASE NO. CV-8:15-cv-00550-JLS-RNB
                                     )
17            Plaintiff,             )          [Assigned to the Hon. Josephine L. Staton,
                                     )          Courtroom 10A ; Magistrate Judge Robert
18       vs.                         )          N. Block, Courtroom 6D]
                                     )
19   QUALITY SYSTEMS, INC. NEXTGEN )            MEMORANDUM OF POINTS AND
     HEALTHCARE INFORMATION          )          AUTHORITIES IN SUPPORT OF
20   SYSTEMS, and DOES 1 through 10, )          MOTION TO TRANSFER VENUE
     INCLUSIVE,                      )
21                                   )          [Filed concurrently with Notice of Motion
                                     )          and Motion, Declarations in Support, and
22            Defendants.            )          [Proposed] Order]
                                     )
23                                   )          Date:           October 23, 2015
                                     )          Time:           2:30 p.m.
24                                   )          Courtroom:      10A
                                     )
25                                   )
                                     )          Complaint Filed: April 8, 2015
26                                   )          FAC Filed: May 4, 2015

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     CV-8:15-cv-00550-JLS-RNB               1             MEMORANDUM OF POINTS AND
                                                   AUTHORITIES IN SUPPORT OF MOTION TO
                                                                       TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 2 of 16 Page ID #:135


 1   I.     INTRODUCTION ..................................................................................................... 1
 2   II.    STATEMENT OF RELEVANT FACTS.................................................................. 1
            A.  Background ..................................................................................................... 1
 3          B.  Harassment & Retaliation Allegations............................................................ 2
            C.  Procedural History........................................................................................... 3
 4   III.   ARGUMENT............................................................................................................. 4
            A.  Legal Standard................................................................................................. 4
 5          B.  This matter could have been brought in the Eastern District of
                Pennsylvania.................................................................................................... 4
 6          C.  Transferring this matter to Pennsylvania will be convenient for the
                parties, witnesses and will promote the interests of justice. ........................... 5
 7              1.     Pennsylvania is more convenient for the parties .................................. 6
                2.     Pennsylvania is more convenient for the witnesses.............................. 6
 8              3.     Evidence will be easier to access in the Eastern District...................... 8
                4.     Plaintiff’s Choice of Forum should be given no weight....................... 8
 9              5.     Other Factors......................................................................................... 9
10   IV.    CONCLUSION........................................................................................................ 10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     CV-8:15-cv-00550-JLS-RNB                                    1               MEMORANDUM OF POINTS AND
                                                                          AUTHORITIES IN SUPPORT OF MOTION TO
                                                                                              TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 3 of 16 Page ID #:136


 1                                              TABLE OF AUTHORITIES
 2
                                                                                                                              Page(s)
 3   FEDERAL CASES
 4   Catch Curve, Inc. v. Venali, Inc. (C.D.Ca 2006),
 5     2006 U.S. Dist. LEXIS 96379 ..............................................................................9
 6   In re Apple, Inc. (8th Cir. 2010),
 7       602 F.3d 909 .........................................................................................................9

 8   Int’l Shoe Co. v. Washington (1945),
         326 U.S. 310, 66 S. Ct. 154, 90 L. Ed. 95 ............................................................5
 9
10   Los Angeles Mem. Coliseum Comm. v. Oakland Raiders, Ltd. (C.D. Cal. 1981),
        89 F.R.D. 497........................................................................................................6
11
     Metz v. U.S. Life Ins. Co. et. al. (C.D. CA 2009),
12     674 F.Supp. 2d 1141 .............................................................................................4
13
     Sacody Technologies v. Avant, Inc. (S.D.N.Y. 1994),
14      862 F.Supp. 1152 ..................................................................................................5
15
     Saleh v. Titan Corporation et. al. (S.D.Ca 2005),
16      361 F.Supp. 2d 1152 .............................................................................................4
17   Williams v. Bowman (N.D. Cal. 2001),
18      157 F. Supp. 2d 1103 ..............................................................................5, 8, 9, 10

19   FEDERAL STATUTES
20   28 U.S.C. 1332...........................................................................................................4
21
     28 U.S.C. 1332(a) ......................................................................................................4
22
     28 U.S.C. § 1391(b)(2)...............................................................................................5
23
     28 U.S.C. § 1404(a) .....................................................................................1, 2, 4, 10
24
25   Federal Rules of Civil Procedure - Rule 45 ..............................................................8
26   Federal Rules of Civil Procedure - Rule 45(c)(1)(A) and 45(c)(2)(A).....................8
27
28

     CV-8:15-cv-00550-JLS-RNB                                        1               MEMORANDUM OF POINTS AND
                                                                              AUTHORITIES IN SUPPORT OF MOTION TO
                                                                                                  TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 4 of 16 Page ID #:137


 1   STATE STATUTES
 2   42 Pa. Cons. Stat. Ann. § 5322(b) .............................................................................5
 3
     Title VII of the Civil Rights Act of 1964...................................................................4
 4
 5
 6
 7
 8
 9
10
11
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     CV-8:15-cv-00550-JLS-RNB                                  2               MEMORANDUM OF POINTS AND
                                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                                            TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 5 of 16 Page ID #:138


 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2            Defendants Quality Systems, Inc. (“QSI”) and NextGen Healthcare Information
 3   Systems, LLC (“NextGen”) submit the following Memorandum of Points and Authorities
 4   in support of their motion to transfer venue of this matter from the Central District of
 5   California to the Eastern District of Pennsylvania.
 6   I.       INTRODUCTION
 7            This is an employment discrimination matter arising out of Traci Wolbert’s
 8   (“Plaintiff”) termination as a Director of Program Management for Defendant NextGen,
 9   which is a wholly owned subsidiary of Defendant QSI. Plaintiff alleges that she was
10   sexually harassed by her supervisor, Steve Puckett, and then terminated in January 2015
11   in retaliation for complaining about it to human resources in August 2014.
12            In a clear example of forum shopping, Plaintiff has filed this lawsuit in California
13   despite the fact that she resides in Pennsylvania, she worked in Pennsylvania, the alleged
14   harm occurred in Pennsylvania, the vast majority of the witnesses reside in Pennsylvania
15   and her attorneys are located in Pennsylvania. As discussed more fully below, this matter
16   should therefore be transferred to the Eastern District of Pennsylvania pursuant to 28
17   U.S.C. § 1404(a).
18   II.      STATEMENT OF RELEVANT FACTS1
19            A.     Background
20            Among other things, Defendants develop and market computer-based medical
21   practice management and electronic health records solutions.              Defendants are both
22   incorporated and have their principal places of business in California. Amended Cmpl. at
23   ¶¶3-4.
24            Plaintiff was hired as a sales executive by Defendant NextGen in 2002. Id. at ¶12.
25   Plaintiff was at all times a citizen and resident of Pennsylvania. Id. at ¶2. In the spring of
26   2013, Plaintiff began reporting to Mr. Puckett, Defendant QSI’s Chief Technology
27   Officer (“CTO”). Id. at ¶17. Plaintiff worked primarily out of her home in Philadelphia,
28   1
         Defendants’ factual recitation is limited to those facts relevant to the venue issue.

     CV-8:15-cv-00550-JLS-RNB                        1             MEMORANDUM OF POINTS AND
                                                            AUTHORITIES IN SUPPORT OF MOTION TO
                                                                                TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 6 of 16 Page ID #:139


 1   PA. Declaration of Steven Puckett (“Puckett Declaration”) at ¶7. When she was not
 2   working at home, Plaintiff worked out of her office in Defendant Nextgen’s Horsham,
 3   PA location. Id.
 4         At all relevant times, Mr. Puckett was a resident and citizen of the state of Florida.
 5   Id. ¶2.    Although Plaintiff reported to Mr. Puckett, their interactions were almost
 6   exclusively over the telephone, email and/or text messages. Id. at ¶8. In fact, Plaintiff
 7   and Mr. Puckett were only in each other’s physical presence approximately 20 times and
 8   the vast majority of these personal encounters took place in Philadelphia or Horsham,
 9   PA. Id. at ¶¶9-10. Mr. Puckett and Plaintiff were never in each other’s physical presence
10   in the state of California. Id. at ¶10.
11         B.     Harassment & Retaliation Allegations
12         According to Plaintiff, Mr. Puckett began sexually harassing Plaintiff shortly after
13   her transfer in the spring of 2013. Amended Cmpl. at ¶22. In particular, Plaintiff alleges
14   that Mr. Puckett made various requests over email and text messages that Plaintiff travel
15   with him to Paris, India and a condominium he owns in New Orleans for non-work
16   related purposes. Plaintiff also claims that from January 2014 until March 2014, Mr.
17   Puckett repeatedly pressured her to relocate with him to Irvine, California. Id. at 27.
18   Finally, Mr. Puckett also allegedly sent Plaintiff additional inappropriate text messages
19   that were “sexual and harassing in nature” and behaved in an inappropriate manner at
20   unspecified company functions they “routinely attended” in various cities. Id. at ¶22-25.
21         On or about August 25, 2014, Plaintiff complained via telephone about Mr. Puckett
22   to Donna Greene in Defendant QSI’s human resources department located in Irvine,
23   California. Plaintiff had subsequent telephone calls with Ms. Greene in September 2014
24   further detailing Mr. Puckett’s alleged conduct. Id. at ¶37-38.
25         On October 1, 2014, Mr. Puckett learned from two of Plaintiff’s co-workers, Dr.
26   Robert Murry and Lisa Carden, that Plaintiff was exhibiting serious performance issues.
27   Puckett Declaration at ¶11. This conversation occurred during a conference in Chicago,
28   Illinois. Id. Then, on October 9, 2014, Plaintiff was informed via a telephone call from

     CV-8:15-cv-00550-JLS-RNB                    2             MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                            TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 7 of 16 Page ID #:140


 1   Ms. Greene that eight of Defendants’ employees had filed complaints against her arising
 2   out of her poor management style. Amended Cmpl. at ¶39. On October 10, 2014,
 3   Plaintiff’s team of approximately thirty-five people was removed from her supervision.
 4   She was told that she would have a new position and would now be reporting to Ben
 5   Mehling, not Steve Puckett. She was informed of these decisions by Ms. Greene and Mr.
 6   Puckett over the telephone. Amended Cmpl. at ¶40. Upon information and belief,
 7   Plaintiff was in Pennsylvania at the time of the telephone call. Puckett Declaration at
 8   ¶12.
 9          On October 20, 2014, Plaintiff sent a letter to Defendant QSI’s Board of Directors
10   requesting an independent investigation into Mr. Puckett’s and Ms. Greene’s alleged
11   actions, which she believed were in retaliation for her complaint of harassment about Mr.
12   Puckett in August 2014. Amended Cmpl. at ¶44. In response, Defendants retained an
13   outside investigator to conduct the investigation. Plaintiff met with the investigator on
14   November 6, 2014 at Defendant QSI’s Irvine, California office. Amended Cmpl. at ¶46.
15   Upon information and belief, Plaintiff’s counsel, Ronald Greenblatt and Patricia Pierce,
16   were in attendance at the interview and engaged in extensive communications with the
17   investigator throughout the investigation. Plaintiff’s attorneys are based in Philadelphia
18   and, upon information and belief, neither are residents of California.
19          On or about December 18, 2014, Plaintiff learned that her work was being
20   evaluated.   Amended Cmpl. at ¶49.        According to Plaintiff, this review was being
21   conducted as part of the “effort to manufacture a record of poor performance . . . in order
22   to justify her termination.” Amended Cmpl. at ¶50. On January 30, 2015, Plaintiff was
23   terminated over the telephone by Mr. Mehling. Amended Cmpl. at ¶54.
24          C.    Procedural History
25          On April 8, 2015, Plaintiff filed her complaint in this Court alleging claims for
26   sexual harassment, failure to investigate and retaliation under FEHA and termination in
27   violation of California public policy. On April 20, 2015, this Court issued an Order for
28   Plaintiff to Show Cause as to why the case should not be dismissed for lack of subject

     CV-8:15-cv-00550-JLS-RNB                    3             MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                            TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 8 of 16 Page ID #:141


 1   matter jurisdiction due to Plaintiff’s failure to properly allege the parties’ citizenship or
 2   the amount in controversy pursuant to 28 U.S.C. 1332(a). On May 4, 2015, Plaintiff filed
 3   her Amended Complaint which, other than correcting these apparent jurisdictional errors,
 4   remained the same in all other respects. The Parties agreed to extend Defendants’ time to
 5   respond to the Amended Complaint until August 31, 2015. Defendants submitted their
 6   Answer on August 31, 2015 and now move to transfer venue to the Eastern District of
 7   Pennsylvania.
 8          Plaintiff also filed a claim with the Philadelphia office of the Equal Employment
 9   Opportunity Commission (“EEOC”) alleging that Defendants’ violated Title VII of the
10   Civil Rights Act of 1964. That action remains pending.
11   III.   ARGUMENT
12          A.    Legal Standard
13          28 U.S.C. §1404(a) states that “for the convenience of the parties and witnesses in
14   the interest of justice, a district court may transfer any civil action to any other district
15   court where it might have been brought.” The analysis under 1404(a) requires two steps.
16   First, the moving party must show that the transferee district is a district in which the
17   matter “might have been brought.” Second, the Court must consider whether transferring
18   the case would be convenient for the parties and witnesses in the interest of justice. See
19   28 U.S.C. §1404(a) (2015); Saleh v. Titan Corporation et. al., 361 F.Supp. 2d 1152, 1155
20   (S.D.Ca 2005).
21          B.    This matter could have been brought in the Eastern District of
22                Pennsylvania
23          The first step requires the moving party to show that the transferee district has
24   subject matter jurisdiction, personal jurisdiction and that venue would be proper. Metz v.
25   U.S. Life Ins. Co. et. al., 674 F.Supp. 2d 1141, 1145 (C.D. CA 2009). Here, these
26   requirements are easily met. First, the Eastern District of Pennsylvania could have
27   exercised subject matter jurisdiction based on the diversity of the parties pursuant to 28
28   U.S.C. 1332. See Amended Cmpl. at ¶8. Second, the Eastern District of Pennsylvania

     CV-8:15-cv-00550-JLS-RNB                     4            MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                            TRANSFER VENUE
 Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 9 of 16 Page ID #:142


 1   can exercise personal jurisdiction over the parties since Plaintiff is a Pennsylvania
 2   resident and since both Defendants, although California corporations, have sufficient
 3   contacts with Pennsylvania such that exercising personal jurisdiction over them would
 4   not “offend traditional notions of fair play and substantial justice.”2 42 Pa. Cons. Stat.
 5   Ann. § 5322(b); Int’l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S. Ct. 154, 90 L. Ed.
 6   95 (1945) (internal quotation marks and citation omitted).
 7          Finally, venue is proper in the Eastern District of Pennsylvania because a
 8   “substantial part of the events or omissions giving rise to the claim occurred” in
 9   Pennsylvania. 28 U.S.C. § 1391(b)(2). Plaintiff currently lives in Pennsylvania. She
10   also lived and worked in Pennsylvania while she was allegedly receiving harassing
11   telephone calls, emails and text messages. Sacody Technologies v. Avant, Inc., 862
12   F.Supp. 1152, 1157 (S.D.N.Y. 1994) (The standard set forth in § 1391(a)(2) may be
13   satisfied if a communication was “transmitted to or from the district in which the cause
14   of action was filed, given a sufficient relationship between the communication and the
15   cause of action.”). In addition, she was allegedly demoted and then terminated over the
16   telephone while she was presumably located in Pennsylvania.         Puckett Declaration at
17   ¶12.
18          As a result, the first step in the change of venue analysis has been met because this
19   matter “might have been brought” in the Eastern District of Pennsylvania.
20          C.    Transferring this matter to Pennsylvania will be convenient for the
21                parties, witnesses and will promote the interests of justice.
22          Courts evaluate the following factors in deciding the second step of the change of
23   venue analysis: (1) convenience of the parties; (2) convenience of the witnesses; (3) ease
24   of access to the evidence; (4) any local interest in the controversy; (5) the relative court
25   congestion and time of trial in each forum and (6) a plaintiff’s choice of forum. See
26   Williams v. Bowman, 157 F. Supp. 2d 1103, 1106 (N.D. Cal. 2001). In this case, virtually
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      Among other things, Defendants employ over 500 individuals in Pennsylvania and have
     countless customers in Pennsylvania. See Declaration of Jane Kurcon at ¶5.

     CV-8:15-cv-00550-JLS-RNB                    5             MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                            TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 10 of 16 Page ID
                                        #:143

 1   all of the above factors strongly favor transferring this matter to Eastern District of
 2   Pennsylvania.
 3                1.    Pennsylvania is more convenient for the parties
 4         First, and perhaps most obviously, Plaintiff is a resident of Philadelphia,
 5   Pennsylvania making the Eastern District of Pennsylvania clearly the most convenient
 6   forum for her purposes. Second, all of the attorneys in this case (with the exception of
 7   local counsel) are from Philadelphia – mere minutes from the Eastern District of
 8   Pennsylvania. Thus, transferring this matter to the Eastern District of Pennsylvania will
 9   enable the parties to dispense with the cost of local counsel and cut travel time for the
10   parties and their attorneys from 6 hours by airplane to 6 minutes by taxi cab. Finally,
11   although Defendants’ decision-makers are located primarily in California, they frequently
12   travel to Pennsylvania so attending Court appearances, mediations and depositions will
13   not be any inconvenience.
14                2.    Pennsylvania is more convenient for the witnesses
15         “The convenience of witnesses is . . . the most important factor in passing on a
16   transfer motion.” Los Angeles Mem. Coliseum Comm. v. Oakland Raiders, Ltd., 89
17   F.R.D. 497, 501 (C.D. Cal. 1981). Here, Defendants intend to argue, among other things,
18   that Plaintiff was not sexually harassed by Mr. Puckett, that a thorough investigation of
19   her complaint was conducted and that her termination was for legitimate business reasons
20   unrelated to any complaint Plaintiff made to Defendants’ human resources department or
21   Board of Directors. Defendants believe that the following individuals will be critical
22   witnesses to their defense. Each individual’s state of residence is listed, along with a
23   general description of their anticipated testimony.
24                1.    Plaintiff, Pennsylvania. Plaintiff will provide testimony regarding her
25                      claims and damages.
26                2.    Mr. Puckett, Florida. Mr. Puckett will testify regarding Plaintiff’s
27                      allegations of harassment and Plaintiff’s work performance.
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     CV-8:15-cv-00550-JLS-RNB                     6               MEMORANDUM OF POINTS AND
                                                           AUTHORITIES IN SUPPORT OF MOTION TO
                                                                               TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 11 of 16 Page ID
                                        #:144

 1               3.    Laura Anderson, Pennsylvania. Ms. Anderson will provide testimony
 2                     regarding Plaintiff’s poor performance.
 3               4.    Russ Hill, Pennsylvania. Mr. Hill will provide testimony regarding
 4                     Plaintiff’s poor performance.
 5               5.    Dawn Sowash, Pennsylvania. Ms. Sowash will provide testimony
 6                     regarding Plaintiff’s poor performance.
 7               6.    Diane Spengel, Pennsylvania. Ms. Spengel will provide testimony
 8                     regarding Defendants’ work environment and Plaintiff’s work
 9                     performance.
10               7.    Alicia Carden, North Carolina. Ms. Carden will provide testimony
11                     regarding Plaintiff’s poor performance.
12               8.    Dr. Robert Murry, New Jersey. Dr. Murry will provide testimony
13                     regarding Plaintiff’s poor performance.
14               9.    Ben Mehling, California.        Mr. Mehling will provide testimony
15                     regarding Plaintiff’s poor work performance.
16               10.   Donna Greene, California.        Ms. Greene will provide testimony
17                     regarding Plaintiff’s complaints of harassment and the company’s
18                     investigation.
19               11.   Ronald Greenblatt, Plaintiff’s counsel, residence unknown.            Mr.
20                     Greenblatt   was    present     during   Plaintiff’s   interview(s)   with
21                     Defendants’ third party investigator and can provide testimony
22                     regarding the thoroughness of the investigation.
23               12.   Patricia Pierce, Plaintiff’s counsel, residence unknown. Ms. Pierce
24                     participated in the third-party investigation and can provide testimony
25                     regarding the thoroughness of the investigation.
26   Kurcon Declaration at ¶4. In other words, of the 12 critical witnesses identified above,
27   five of them reside in Pennsylvania. Of the remaining seven witnesses, five of them live
28   in states considerably closer to Pennsylvania than California (New Jersey, Florida and

     CV-8:15-cv-00550-JLS-RNB                  7               MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT OF MOTION TO
                                                                            TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 12 of 16 Page ID
                                        #:145

 1   North Carolina).3 Furthermore, the only two witnesses who actually reside in California
 2   will not be difficult to produce for depositions and/or trial. Specifically, Donna Greene
 3   remains an employee of Defendants and is therefore within their control. Ben Mehling,
 4   although a former employee, has been cooperative to date, and has already submitted an
 5   affidavit regarding his knowledge of the case.     See Affidavit of Benjamin Mehling
 6   attached as Exhibit A to the Declaration of Andrew D. La Fiura.
 7         In sum, this factor – which Courts consistently note is the most important factor in
 8   the change of venue analysis – weighs entirely in favor of transferring this case to the
 9   Eastern District of Pennsylvania.
10               3.     Evidence will be easier to access in the Eastern District
11         In general, Rule 45 of the Federal Rules of Civil Procedure sets a strict 100-mile
12   geographic limitation on subpoenas seeking the production of deponents or physical
13   evidence. See Fed. R. Civ. Proc. 45(c)(1)(A) and 45(c)(2)(A). Here, virtually all of the
14   relevant party and non-party witnesses and the physical evidence in their possession are
15   located within the Eastern District of Pennsylvania. In addition, Plaintiff worked out of
16   Horsham, Pennsylvania, which is where her personnel records are physically located.
17   Kurcon Declaration at ¶7. Moreover, Plaintiff is seeking emotional distress damages,
18   making her medical records highly relevant to her damages. Amended Cmpl. at pp. 15-
19   16. Presumably, Plaintiff’s medical providers are within 100 miles of her Philadelphia
20   residence and therefore within the subpoena power of the Eastern District of
21   Pennsylvania and well outside the subpoena power of this Court.
22               4.     Plaintiff’s Choice of Forum should be given no weight.
23         Generally speaking, the plaintiff’s choice of forum is given substantial weight in
24   determining the appropriate venue. Williams v. Bowman, 157 F.Supp. 2d 1103 (N.D. CA
25   2001). The plaintiff’s choice is given less weight, however, where the plaintiff is not a
26   resident of the chosen forum or where the forum lacks any significant connection to the
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28    We are presuming that Ms. Pierce and Mr. Greenblatt, whose offices are located in
     Philadelphia, reside closer to Pennsylvania than California.

     CV-8:15-cv-00550-JLS-RNB                   8            MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF MOTION TO
                                                                          TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 13 of 16 Page ID
                                        #:146

 1   acts giving rise to the litigation. Catch Curve, Inc. v. Venali, Inc., 2006 U.S. Dist. LEXIS
 2   96379 (C.D.Ca 2006); see also In re Apple, Inc., 602 F.3d 909, 913 (8th Cir. 2010)
 3   (foreign plaintiff’s choice of forum is “entitled to substantially less deference” because
 4   there is less reason to assume convenience and an increased risk of forum shopping). In
 5   addition, “[i]f there is any indication that plaintiff’s choice of forum is the result of forum
 6   shopping, plaintiff’s choice will be accorded little deference.” Williams, 157 F.Supp. at
 7   1106 (citations omitted);.
 8         Here, Plaintiff’s decision to file her complaint approximately 3,000 miles away
 9   from her residence and place of employment represents obvious forum shopping.
10   Plaintiff is not a resident of California, she did not work in California and no events of
11   any significance occurred in California. Her choice of venue in the Central District of
12   California should be given virtually no weight.
13                5.     Other Factors
14         The final two factors to consider are any local interest in the controversy and court
15   congestion. First, the local interest in this controversy is stronger in the Eastern District
16   of Pennsylvania since it is where Plaintiff lived, worked and was allegedly harmed. It is
17   also where almost all of the witnesses live and where the attorneys work and reside.
18   Other than the fact that Defendants are incorporated and physically based in California,
19   the Central District of California has no connection to this matter whatsoever.
20         Second, there is greater docket congestion in the Central District of California than
21   the Eastern District of Pennsylvania. Based on the internal records of the United States
22   Judiciary, as of March 2015, the Central District of California had a total of 12,571
23   pending cases compared to 9,352 pending cases in the Eastern District of Pennsylvania.
24   See United States District Court – Judicial Caseload Profile (visited August 31, 2015).4
25   In addition, the judgeships in the Central District of California currently have more
26   filings and pending matters than the judgeships in the Eastern District of Pennsylvania.
27
     4
28     See: http://www.uscourts.gov/statistics-reports/caseload-statistics-data-tables (relevant
     excerpts and explanations of terms attached to the Declaration of Andrew D. La Fiura)

     CV-8:15-cv-00550-JLS-RNB                      9            MEMORANDUM OF POINTS AND
                                                         AUTHORITIES IN SUPPORT OF MOTION TO
                                                                             TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 14 of 16 Page ID
                                        #:147

 1   Id. Finally, the Central District reports nearly double the amount of weighted filings as
 2   the Eastern District Court of Pennsylvania. Id.
 3   IV.   CONCLUSION
 4         For all these reasons, a transfer of this action is appropriate and will serve the
 5   convenience of the Parties and witnesses and promote the interests of justice.
 6   Defendants respectfully request that their motion be granted and that this matter be
 7   transferred to the Eastern District of Pennsylvania pursuant to 28 U.S.C. §1404(a).
 8
 9   Dated: September 18, 2015             JACKSON LEWIS P.C.
10
11                                         By: /s/Andrew D. La Fiura
                                           Andrew D. La Fiura
12                                         Jared L. Bryan
                                           Vandana Kapur
13
                                           Attorneys for Defendants
14                                         QUALITY SYSTEMS, INC. and NEXTGEN
                                           HEALTHCARE INFORMATION SYSTEMS,
15                                         LLC
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     CV-8:15-cv-00550-JLS-RNB                   10            MEMORANDUM OF POINTS AND
                                                       AUTHORITIES IN SUPPORT OF MOTION TO
                                                                           TRANSFER VENUE
     Case 8:15-cv-00550-JLS-RNB Document 24-1 Filed 09/18/15 Page 15 of 16 Page ID
                                        #:148

 1                               CERTIFICATE OF SERVICE
 2   UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
 3   CASE NAME:         TRACI WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
 4   CASE NUMBER: CV-8:15-cv-00550-JLS-RNB
 5         I am employed in the County of ORANGE, State of California. I am over the age
     of 18 and not a party to the within action; my business address is 5000 Birch Street, Suite
 6
     5000, Newport Beach, CA 92660.
 7
           On September 18, 2015, I served following document(s) described as:
 8
 9    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
                        TO TRANSFER VENUE
10
11   on the parties in this action listed below in the manner designated below:
12                        PLEASE SEE ATTACHED SERVICE LIST
13
          BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
14
     consented to electronic service and have been automatically served by the Notice of
15   Electronic Filing, which is automatically generated by CM/ECF at the time said
     document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).
16
17        FEDERAL I declare under penalty of perjury under the laws of the State of
     California and the United States that the foregoing is true and correct, and that I am
18   employed in the office of a member of the bar of this Court at whose direction the service
19   was made.
20         Executed on September 18, 2015, at Newport Beach, California.
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22                                                             /s/ Lisa Uyesugi
23                                                       Lisa Uyesugi

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     CV-8:15-cv-00550-JLS-RNB                   11            MEMORANDUM OF POINTS AND
                                                       AUTHORITIES IN SUPPORT OF MOTION TO
                                                                           TRANSFER VENUE
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                                        #:149

 1                                    SERVICE LIST
 2
     Sharon Rachel Vinick, Esq.                  Co-Counsel for Plaintiff,
 3   LEVY VINICK BURRELL HYAMS LLP               TRACI WOLBERT
     180 Grand Avenue, Suite 1300
 4   Oakland, CA 94612                           Tel: (510) 318-7700
                                                 Fax: (510) 318-7701
 5                                               Email:     sharon@levyvinick.com
 6
 7   Patricia V. Pierce, Esq.                    Co-Counsel for Plaintiff,
 8   GREENBLATT PIERCE ENGLE FUNT                TRACI WOLBERT
     AND FLORES
 9   123 South Broad Street, Suite 2500          Tel: (215) 735-1600
     Philadelphia, PA 19109                      Fax: (215) 735-1660
10                                               Email:     p.pierce@gpeff.com
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14   4824-8141-3416, v. 1


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     CV-8:15-cv-00550-JLS-RNB               12            MEMORANDUM OF POINTS AND
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                                                                       TRANSFER VENUE
